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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Ohio
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Murray Energy Holdings Co.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          46226 National Road
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          St. Clairsville, Ohio 43950
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Belmont County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.murrayenergycorp.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Murray Energy Holdings Co.                                     Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2121 (Coal Mining)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                 Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    Southern District of Ohio
     List all cases. If more than 1,                                                                          When             10/29/2019
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY



     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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    Debtor           Murray Energy Holdings Co.                                        Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☒    25,001-50,000
        creditors1                        ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

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Debtor           Murray Energy Holdings Co.                                          Case number (if known)
          Name




16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         10/29/2019
                                                              MM/ DD / YYYY


                                              /s/ Robert D. Moore                                                Robert D. Moore
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Kim Martin Lewis                                           Date        10/29/2019
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Kim Martin Lewis

                                              Dinsmore & Shohl LLP
                                              Firm name
                                              255 East Fifth Street, Suite 1900
                                              Number                   Street
                                              Cincinnati                                                             Ohio              45202
                                              City                                                                   State               ZIP Code
                                              (513) 977-8200                                                         kim.lewis@dinsmore.com
                                              Contact phone                                                               Email address
                                              0043533                                                 Ohio
                                              Bar number                                          State




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    Fill in this information to identify the case:
                                                                             ,
    United States Bankruptcy Court for the:
                              Southern District of Ohio
                                          (State)                                                           ☐ Check if this is an
    Case number (if known):                               Chapter   11                                          amended filing


                                                       Rider 1
                        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

          On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
  States Bankruptcy Court for the Southern District of Ohio for relief under chapter 11 of title 11 of the United States
  Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
  chapter 11 case of Murray Energy Holdings Co.

Murray Energy Holdings Co.                     Keystone Coal Mining Corporation        Sunburst Resources, Inc.
AMCA Coal Leasing, Inc.                        Maple Creek Mining, Inc.                T D K Coal Sales, Incorporated
AmCoal Holdings, Inc.                          Maple Creek Processing, Inc.            The American Coal Company
American Compliance Coal, Inc.                 McElroy Coal Company                    The American Coal Sales Company
American Energy Corporation                    Mill Creek Mining Company               The Franklin County Coal Company
American Equipment & Machine, Inc.             Mon River Towing, Inc.                  The Harrison County Coal Company
American Mine Services, Inc.                   MonValley Transportation Center, Inc.   The Marion County Coal Company
American Natural Gas, Inc.                     Murray American Coal, Inc.              The Marshall County Coal Company
AmericanHocking Energy, Inc.                   Murray American Energy, Inc.            The McLean County Coal Company
AmericanMountaineer Energy, Inc.               Murray American Kentucky Towing, Inc.   The Meigs County Coal Company
AmericanMountaineer Properties, Inc.           Murray American Minerals, Inc.          The Monongalia County Coal Company
Anchor Longwall and Rebuild, Inc.              Murray American Resources, Inc.         The Muhlenberg County Coal Company, LLC
Andalex Resources, Inc.                        Murray American River Towing, Inc.      The Muskingum County Coal Company
Andalex Resources Management, Inc.             Murray American Transportation, Inc.    The Ohio County Coal Company
Avonmore Rail Loading, Inc.                    Murray Colombian Resources, LLC         The Ohio Valley Coal Company
Belmont Coal, Inc.                             Murray Equipment & Machine, Inc.        The Ohio Valley Transloading Company
Belmont County Broadcast Studio, Inc.          Murray Kentucky Energy, Inc.            The Oklahoma Coal Company
Canterbury Coal Company                        Murray Kentucky Energy Services, Inc.   The Washington County Coal Company
CCC Land Resources LLC                         Murray Keystone Processing, Inc.        The Western Kentucky Coal Company, LLC
CCC RCPC LLC                                   Murray South America, Inc.              Twin Rivers Towing Company
Central Ohio Coal Company                      Murray Utah Energy Services, Inc.       UMCO Energy, Inc.
Coal Resources Holdings Co.                    Ohio Energy Transportation, Inc.        UtahAmerican Energy, Inc.
Coal Resources, Inc.                           Ohio Valley Resources, Inc.             West Ridge Resources, Inc.
Consolidated Land Company                      OhioAmerican Energy, Incorporated       West Virginia Resources, Inc.
Consolidation Coal Company                     Oneida Coal Company, Inc.               Western Kentucky Coal Resources, LLC
Corporate Aviation Services, Inc.              PennAmerican Coal L.P.                  Western Kentucky Consolidated Resources, LLC
Eighty-Four Mining Company                     PennAmerican Coal, Inc.                 Western Kentucky Land Holding, LLC
Empire Dock, Inc.                              Pennsylvania Transloading, Inc.         Western Kentucky Rail Loadout, LLC
Energy Resources, Inc.                         Pinski Corp.                            Western Kentucky Resources Financing, LLC
Energy Transportation, Inc.                    Pleasant Farms, Inc.                    Western Kentucky Resources, LLC
Genwal Resources, Inc.                         Premium Coal, Inc.                      Western Kentucky River Loadout, LLC
Kanawha Transportation Center, Inc.            Southern Ohio Coal Company
KenAmerican Resources, Inc.                    Spring Church Coal Company
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                                UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    MURRAY ENERGY HOLDINGS CO.,                        )    Case No. 19-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS2

        Debtor           Equity Holders              Address of Equity         Type of       Percentage
                                                          Holder                Equity        of Equity
                                                                               Security         Held
                                                                               Class A
                                                 46226 National Road,
                        Robert E. Murray                                       Common           100%
                                                 St. Clairsville, Ohio 43950
                                                                                Stock
                                                                               Class B
                                                 46226 National Road,
                        Robert E. Murray                                       Common           19.2%
                                                 St. Clairsville, Ohio 43950
                                                                                Stock
                                                                               Class B
                                                 46226 National Road,
                        Robert Edward Murray                                   Common           20.2%
    Murray                                       St. Clairsville, Ohio 43950
                                                                                Stock
    Energy
                                                                               Class B
    Holdings Co.                                 46226 National Road,
                        Jonathan Murray                                        Common           20.2%
                                                 St. Clairsville, Ohio 43950
                                                                                Stock
                                                                               Class B
                                                 46226 National Road,
                        Ryan Murray                                            Common           20.2%
                                                 St. Clairsville, Ohio 43950
                                                                                Stock
                                                                               Class B
                        Murray 2003 Trust        46226 National Road,
                                                                               Common           20.2%
                        (Fifth Third Bank)       St. Clairsville, Ohio 43950
                                                                                Stock




2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                              UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 MURRAY ENERGY HOLDINGS CO.,                          )    Case No. 19-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                                           Type of Equity Security        Approximate Percentage of
             Shareholder
                                                                                Shares Held


     Robert E. Murray                      Class A Common Stock                       100%


     Robert E. Murray                      Class B Common Stock                       19.2%


     Robert Edward Murray                  Class B Common Stock                       20.2%


     Jonathan Murray                       Class B Common Stock                       20.2%


     Ryan Murray                           Class B Common Stock                       20.2%

     Murray 2003 Trust (Fifth Third
                                           Class B Common Stock                       20.2%
     Bank)
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    Fill in this information to identify the case:

    Debtor name          Murray Energy Holdings Co, et al.

    United States Bankruptcy Court for the:                             Southern District of Ohio                                               �    Check if this is an
    Case number (If known):                                                                 (State)                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                           12/15

        A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
        include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 50 largest unsecured claims.

                                                                                                                                                 Amount of claim
                                                                                            Nature of
                                                                                             claim                                    If the claim is fully unsecured, fill in only
                                                                                                                                    unsecured claim amount. If claim is partially
                                                                                               (for                               secured, fill in total claim amount and deduction
                                                                                                           Indicate if claim
                                                                                            example,                                 for value of collateral or setoff to calculate
      Name of creditor and complete                Name, telephone number and                               is contingent,
                                                                                          trade debts,                                              unsecured claim.
     mailing address, including zip code          email address of creditor contact                        unliquidated, or
                                                                                           bank loans,
                                                                                                               disputed
                                                                                          professional                              Total     1Deduction
                                                                                          services, and                           claim, if   for value of
                                                                                                                                                                Unsecured Claim
                                                                                          government                              partially   collateral or
                                                                                           contracts)                             secured      setoff [1]

    JOY GLOBAL                                    MATT KULASA                                Trade
    ATTN: MATT KULASA                             MKULASA@JOYGLOBAL.                         Debt                                                              $31,375,190.00
    VP, CORPORATE                                 COM
    CONTROLLER & CAO                              PHONE - 724-873-4337
1
    100 EAST WISCONSIN AVE                        FAX - 724-873-4309
    SUITE 2780
    MILWAUKEE, WI 53201-0551
    UNITED STATES
    JENNMAR CORPORATION                           MICHAEL CALANDRA                           Trade
    ATTN: MICHAEL CALANDRA                        EMAIL -                                    Debt                                                              $27,712,339.62
    EXECUTIVE VICE                                MCALANDRA@JENNMAR.
2   PRESIDENT                                     COM
    258 KAPPA DR                                  PHONE - 412-963-9071
    PITTSBURGH, PA 15238                          FAX - 304-864-4169
    UNITED STATES
    CB MINING, INC.                               JAY W CLEVELAND                            Trade
    ATTN: JAY W CLEVELAND                         EMAIL -                                    Debt                                                              $11,929,629.58
    CHIEF EXECUTIVE OFFICER                       JCLEVELAND@CBMINING
3
    255 BERRY ROAD                                .COM
    WASHINGTON, PA 15301                          PHONE - 866-226-4688
    UNITED STATES                                 FAX - 724-884-2655
    JEFFREY C HURT                                JEFFERY C HURT                             Trade
    ATTN: JEFFERY C HURT                          PHONE - 440-724-1616                       Debt                                                              $10,953,579.25
    29425 CHAGRIN BLVD, SUITE                     FAX - 216-591-0079
4
    300
    PEPPER PIKE, OH 44122
    UNITED STATES


           1   The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                   Amount of claim
                                                                                    Nature of
                                                                                     claim                              If the claim is fully unsecured, fill in only
                                                                                                                      unsecured claim amount. If claim is partially
                                                                                     (for                           secured, fill in total claim amount and deduction
                                                                                                Indicate if claim
                                                                                  example,                             for value of collateral or setoff to calculate
       Name of creditor and complete         Name, telephone number and                          is contingent,
                                                                                trade debts,                                          unsecured claim.
      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     GMS MINE REPAIR &                      RON PETRELLA                             Trade
     MAINTENANCE                            EMAIL -                                  Debt                                                         $9,355,472.20
     ATTN: RON PETRELLA                     RPETRELLA@GMSMINER
     CHIEF FINANCIAL OFFICER                EPAIR.COM
 5
     32 ENTERPRISE DRIVE                    PHONE - 301-334-8186
     MOUNTAIN LAKE PARK, MD                 FAX - 301-334-8698
     21550
     UNITED STATES
     COASTAL DRILLING EAST,                 SCOTT KIGER                              Trade
     LLC                                    EMAIL -                                  Debt                                                         $9,212,716.13
     ATTN: SCOTT KIGER                      SKIGER@SHAFTDRILLER
     OWNER/CEO                              S.COM
 6
     130 MEADOW RIDGE ROAD                  PHONE - 304-328-5670
     SUITE 24                               FAX - 304-296-1569
     MT. MORRIS, PA 15349
     UNITED STATES
     ANDERSON EXCAVATING                    RODNEY ANDERSON                          Trade
     LLC                                    EMAIL -                                  Debt                                                         $8,873,720.10
     ATTN: RODNEY ANDERSON                  RANDERSON@ANDERSO
 7   PRESIDENT                              NEXCAVATINGLLC.COM
     343 WILLIAMS RD                        PHONE - 304-983-2296
     MORGANTOWN, WV 26501                   FAX - 304-983-4755
     UNITED STATES
     INDUSTRIAL COMMERCIAL                  KENNETH WARE                             Trade
     RESIDENTIAL                            EMAIL -                                  Debt                                                         $6,106,521.64
     ATTN: KENNETH WARE                     KWARE@ICSUPPLY.COM
 8   OWNER                                  PHONE - 844-427-2020
     3351 HAMILTON ST                       FAX - 740-671-8996
     BELLAIRE, OH 43906
     UNITED STATES
     SWANSON & MORGANTOWN                   STEVE SANGALLI                           Trade
     ATTN: STEVE SANGALLI                   EMAIL -                                  Debt                                                         $5,876,735.72
     PRESIDENT & CEO                        SSANGALLI@SWANSONI
 9
     2608 SMITHTOWN ROAD                    NDUSTRIES.COM
     MORGANTOWN, WV 26508                   PHONE - 304-296-8371
     UNITED STATES                          FAX - 304-291-5602
     R M WILSON CO                          PAT POPICG                               Trade
     ATTN: PAT POPICG                       EMAIL - INFO@                            Debt                                                         $5,512,932.03
     PRESIDENT                              RMWILSON.COM
10
     3434 MARKET ST                         PHONE - 304-232-5860
     WHEELING, WV 26003                     FAX - 304-232-3642
     UNITED STATES
     PENN LINE SERVICE, INC.                DAVID W. LYNN                            Trade
     ATTN: DAVID W. LYNN                    EMAIL -                                  Debt                                                         $4,205,604.05
     PRESIDENT                              DAVE@PENNLINE.COM
11
     300 SCOTTDALE AVENUE                   PHONE - 724-887-9110
     SCOTTSDALE, PA 15683                   FAX - 724-887-0545
     UNITED STATES




                                                                                2
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                                                                                                                                   Amount of claim
                                                                                    Nature of
                                                                                     claim                              If the claim is fully unsecured, fill in only
                                                                                                                      unsecured claim amount. If claim is partially
                                                                                     (for                           secured, fill in total claim amount and deduction
                                                                                                Indicate if claim
                                                                                  example,                             for value of collateral or setoff to calculate
       Name of creditor and complete         Name, telephone number and                          is contingent,
                                                                                trade debts,                                          unsecured claim.
      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     HERITAGE COOPERATIVE                   ERIC PARTHERMORE                         Trade
     INC                                    EMAIL -                                  Debt                                                         $3,989,165.57
     ATTN: ERIC PARTHERMORE                 EPARTHEMORE@HERITA
12   PRESIDENT & CEO                        GECOOPERATIVE.COM
     59 GREIF PARKWAY                       PHONE - 937-335-2135
     DELAWARE, OH 43015                     FAX - 330-533-7868
     UNITED STATES
     SANDVIK MINING & CONST.                JOE ANTONELLI                            Trade
     USA, LLC                               EMAIL -                                  Debt                                                         $3,887,547.66
     ATTN: JOE ANTONELLI                    JANTONELLI@SANDVIK.C
     VP OF BUSINESS                         OM
13
     DEVELOPMENT                            PHONE - 888-778-3156
     300 TECHNOLOGY COURT                   FAX - 201-468-0865
     SMYRNA, GA 30082
     UNITED STATES
     UNITED CENTRAL IND.                    HENRY LOONEY                             Trade
     SUPPLY CO. LLC                         EMAIL -                                  Debt                                                         $3,724,838.64
     ATTN: HENRY LOONEY                     HLOONEY@UNITEDCENT
     PRESIDENT                              RAL.NET
14
     1241 VOLUNTEER PARKWAY                 PHONE - 4230573-7300
     SUITE 1000                             FAX - 423-573-7297
     BRISTOL, TN 37620
     UNITED STATES
     CINTAS CORPORATION                     SCOTT FARMER                             Trade
     ATTN: SCOTT FARMER                     EMAIL -                                  Debt                                                         $3,539,927.60
     PRESIDENT & CEO                        FARMERS2@CINTAS.CO
15
     800 CINTAS BOULEVARD                   M
     CINCINNATI, OH 45262-5737              PHONE - 513-573-4020
     UNITED STATES                          FAX - 513-573-4130
     LONE PINE CONSTRUCTION,                REGIS LEACH                              Trade
     INC.                                   EMAIL -                                  Debt                                                         $3,497,808.87
     ATTN: REGIS LEACH                      RLEACH@LONEPINECON
16   PRESIDENT & CEO                        ST.NET
     83 LUSK ROAD                           PHONE - 724-239-6100
     BENTLEYVILLE, PA 15314                 FAX - 724-239-6107
     UNITED STATES
     NEXGEN INDUSTRIAL                      DON LEMLEY                               Trade
     SERVICES, INC.                         EMAIL -                                  Debt                                                         $2,885,771.11
     ATTN: DON LEMLEY                       DLEMLEY@NEXGENINDU
17   PRESIDENT                              STRIAL.COM
     125 LONG STREET                        PHONE - 724-592-5133
     RICES LANDING 15357                    FAX - 724-592-5144
     UNITED STATES
     GLOBAL MINE SERVICE, INC.              CRAIG WATSON                             Trade
     ATTN: CRAIG WATSON                     EMAIL -                                  Debt                                                         $2,821,941.22
     PRESIDENT                              CWATSON@GLOBALMINE
18
     207 MARINE ST                          SERVICE.COM
     BELLE VERNON, PA 15012                 PHONE - 724-929-8700
     UNITED STATES                          FAX - 724-929-5252




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                                                                                                                                   Amount of claim
                                                                                    Nature of
                                                                                     claim                              If the claim is fully unsecured, fill in only
                                                                                                                      unsecured claim amount. If claim is partially
                                                                                     (for                           secured, fill in total claim amount and deduction
                                                                                                Indicate if claim
                                                                                  example,                             for value of collateral or setoff to calculate
       Name of creditor and complete         Name, telephone number and                          is contingent,
                                                                                trade debts,                                          unsecured claim.
      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     ROYAL HYDRAULIC SERVICE                GARY MORRELL                             Trade
     & MFG.                                 EMAIL -                                  Debt                                                         $2,774,879.33
     ATTN: GARY MORRELL                     MARY.JOHNSON@LIVE.C
19   PRESIDENT                              OM
     2 WASHINGTON ST                        PHONE - 724-945-6800
     COKEBURG, PA 15324                     FAX - 724-945-5225
     UNITED STATES
     C & A CUTTER HEAD, I                   PAUL CAMBELL                             Trade
     ATTN: PAUL CAMBELL                     EMAIL -                                  Debt                                                         $2,755,804.50
     PRESIDENT                              PCAMPBELL@LONGWALL
20   212 KENDALL AVENUE                     .COM
     PO BOX 1488                            PHONE - 276-646-2004
     CHILHOWIE, VA 24319                    FAX - 276-646-3999
     UNITED STATES
     FUCHS LUBRICANTS CO.                   KEITH BREWER                             Trade
     ATTN: KEITH BREWER                     EMAIL -                                  Debt                                                         $2,731,982.46
     PRESIDENT & CEO                        KBREWER@FUCHS.COM
21
     17050 LATHROP AVENUE                   PHONE - 708-333-8900
     HARVEY, IL 60426                       FAX - 724-852-2351
     UNITED STATES
     DAVIS ELECTRIC COMPANY,                MARK TARLEY                              Trade
     INC.                                   EMAIL -                                  Debt                                                         $2,498,338.81
     ATTN: MARK TARLEY                      MTARLEY@DAVISELECTR
22   PRESIDENT                              IC.NET
     309 MOUND AVENUE                       PHONE - 304-363-8730
     FAIRMONT, WV 26554                     FAX - 304-367-1223
     UNITED STATES
     STRATA MINE SERVICES,                  MIKE BERUBE                              Trade
     LLC                                    EMAIL -                                  Debt                                                         $2,361,984.79
     ATTN: MIKE BERUBE                      MIKE.BERUBE@STRATA
     PRESIDENT & CEO                        WORLDWIDE.COM
23
     8800 ROSWELL ROAD                      PHONE - 740-695-6880
     SUITE 145                              FAX - 276-991-1025
     SANDY SPRINGS, GA 30350
     UNITED STATES
     WARWOOD ARMATURE                       BILL THALMAN                             Trade
     REPAIR CO.                             EMAIL -                                  Debt                                                         $2,314,228.04
     ATTN: BILL THALMAN                     CTHALMAN@WARWOOD
24   VP OF OPERATIONS                       ARMATURE.COM
     128 NORTH 7TH ST                       PHONE - 304-277-2550
     WHEELING, WV 26003                     FAX - 304-277-2917
     UNITED STATES
     LINCOLN CONTRACTING &                  HAROLD WALKER                            Trade
     EQUIP CO INC                           EMAIL - JIH@CECI.COM                     Debt                                                         $2,177,106.61
     ATTN: HAROLD WALKER                    PHONE - 814-629-2151
25   PRESIDENT                              FAX - 814-629-6588
     2478 LINCOLN HIGHWAY
     STOYSTOWN 15563
     UNITED STATES




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                                                                                                                                   Amount of claim
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                                                                                     claim                              If the claim is fully unsecured, fill in only
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      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     SAVAGE SERVICES                        KIRK AUBRY                               Trade
     CORPORATION                            EMAIL -                                  Debt                                                         $2,144,454.14
     ATTN: KIRK AUBRY                       KIRKR@SAVAGESERVICE
     PRESIDENT & CEO                        S.COM
26
     901 W. LEGACY CENTER                   PHONE - 801-944-6600
     WAY                                    FAX - 801-944-6500
     MIDVALE, UT 84047
     UNITED STATES
     CLEVELAND BROTHERS                     JAY CLEVELAND                            Trade
     EQUIPMENT CO INC                       EMAIL -                                  Debt                                                         $1,977,533.07
     ATTN: JAY CLEVELAND                    JCLEVELAND@CLEVELAN
     PRESIDENT & CEO                        DBROTHERS.COM
27
     4565 WILLIAM PENN                      PHONE - 724-327-1300
     HIGHWAY                                FAX - 724-325-8406
     MURRYSVILLE, PA 15668
     UNITED STATES
     CROWN PRODUCTS &                       DOUG SIMMONS                             Trade
     SERVICES INC                           EMAIL -                                  Debt                                                         $1,699,615.83
     ATTN: DOUG SIMMONS                     SDSIMMONS@CROWNPS.
28   PRESIDENT & CEO                        US
     319 S GILLETTE AVE STE 303             PHONE - 307-696-8164
     GILLETTE, WY 82716                     FAX - 307-696-8174
     UNITED STATES
     MEMMO CONTRACTING, INC.                DEANO MEMMO                              Trade
     ATTN: DEANO MEMMO                      EMAIL -                                  Debt                                                         $1,619,285.00
     DIRECTOR                               MEMCON@COMCAST.NE
29
     600 CHERRY BLOSSOM WAY                 T
     BRIDGEVILLE, PA 15017                  PHONE - 724-350-2649
     UNITED STATES                          FAX - 724-746-4813
     LEE SUPPLY CO., INC.                   NOELLE TAUCHER                           Trade
     ATTN: NOELLE TAUCHER                   EMAIL -                                  Debt                                                         $1,573,976.14
     CONTROLLER                             NTAUCHER@LEESUPPLY.
30
     305 1ST STREET                         COM
     CHARLEROI, PA 15022-1427               PHONE - 724-483-3543
     UNITED STATES                          FAX - 724-483-0577
     ERIKS NORTH AMERICA INC                BEN MONDICS                              Trade
     ATTN: BEN MONDICS                      EMAIL -                                  Debt                                                         $1,531,990.84
     PRESIDENT & CEO                        BMONDICS@ERIKSNA.CO
31   650 WASHINGTON ROAD                    M
     SUITE 500                              PHONE - 724-213-1166
     PITTSBURGH, PA 15228                   FAX - 724-344-8342
     UNITED STATES
     LARROL SUPPLY, INC.                    PETE KOHUT                               Trade
     ATTN: PETE KOHUT                       EMAIL -                                  Debt                                                         $1,499,240.74
     PRESIDENT                              PKOHUT@LARROLSUPPL
32
     66261 NORTH 26TH ROAD                  Y.COM
     BETHESDA, OH 43719-9748                PHONE - 740-782-1324
     UNITED STATES                          FAX - 740-782-1326




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                                                                                                                                   Amount of claim
                                                                                    Nature of
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       Name of creditor and complete         Name, telephone number and                          is contingent,
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      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     WHEELER MACHINERY                      JEFF IPSEN                               Trade
     COMPANY                                EMAIL -                                  Debt                                                         $1,393,183.18
     ATTN: JEFF IPSEN                       JEFFIPSEN@WHEELERC
33   CHIEF FINANCIAL OFFICER                AT.COM
     4901 2100 S                            PHONE - 801-974-0511
     SALT LAKE CITY, UT 84120               FAX - 801-974-9404
     UNITED STATES
     OMEGA CEMENTING CO                     DONALD GADDIS                            Trade
     ATTN: DONALD GADDIS                    EMAIL -                                  Debt                                                         $1,389,105.75
     CHIEF EXECUTIVE OFFICER                GADDIS25@EMBARQMAIL
34
     3776 MILLBORNE RD                      .COM
     APPLE CREEK, OH 44606                  PHONE - 330-695-7147
     UNITED STATES
     HARVEY SERVICES LLC                    GARY L HARVEY                            Trade
     ATTN: GARY L HARVEY                    EMAIL -                                  Debt                                                         $1,272,815.00
     31 HARVEY LANE                         HARVEYSERVICESLLC@
35
     SCENERY HILL, PA 15360                 GMAIL.COM
     UNITED STATES                          PHONE - 740-391-1885
                                            FAX - 724-632-2440
     JABO SUPPLY CORP.                      JACK BAZEMORE                            Trade
     ATTN: JACK BAZEMORE                    EMAIL -                                  Debt                                                         $1,259,129.73
     PRESIDENT                              JBAZEMORE@JABOSUPP
36
     5164 BRALEY RD                         LY.COM
     HUNTINGTON, WV 25707                   PHONE - 304-736-8333
     UNITED STATES                          FAX - 304-736-8551
     OHIO CAT                               DAVE BLOCKSOM                            Trade
     ATTN: DAVE BLOCKSOM                    EMAIL -                                  Debt                                                         $1,249,688.16
     CHIEF FINANCIAL OFFICER                DBLOCKSOM@OHIOCAT.
37   3993 E ROYALTON RD                     COM
     BROADVIEW HEIGHTS, OH                  PHONE - 800-837-6204
     44147                                  FAX - 740-942-4029
     UNITED STATES
     MECHANICAL & CERAMIC                   KENNETH SHAREK                           Trade
     SOLUTIONS, INC                         EMAIL - KENNETHS@mcs-                    Debt                                                         $1,246,200.04
     ATTN: KENNETH SHAREK                   pa.com
38   PRESIDENT                              PHONE - 412-429-8991
     730 SUPERIOR STREET                    FAX - 412-429-8766
     CARNEGIE, PA 15106
     UNITED STATES
     RICHWOOD INDUSTRIES,                   KEVIN MALOY                              Trade
     INC.                                   EMAIL -                                  Debt                                                         $1,235,667.12
     ATTN: KEVIN MALOY                      KMALOY@RICHWOOD.CO
39   CHIEF OPERATING OFFICER                M
     707 7TH STREET WEST                    PHONE - 304-525-5436
     HUNTINGTON, WV 25704                   FAX - 304-525-8018
     UNITED STATES




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                                                                                                                                   Amount of claim
                                                                                    Nature of
                                                                                     claim                              If the claim is fully unsecured, fill in only
                                                                                                                      unsecured claim amount. If claim is partially
                                                                                     (for                           secured, fill in total claim amount and deduction
                                                                                                Indicate if claim
                                                                                  example,                             for value of collateral or setoff to calculate
       Name of creditor and complete         Name, telephone number and                          is contingent,
                                                                                trade debts,                                          unsecured claim.
      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     A. REED EXCAVATING L                   ADAM REED                                Trade
     ATTN: ADAM REED                        PHONE - 740-391-4985                     Debt                                                         $1,234,931.49
     CHIEF EXECUTIVE OFFICER                FAX - 740-926-1422
40
     52912 STATE ROUTE 145
     BEALLSVILLE, OH 43716
     UNITED STATES
     ELGIN INDUSTRIES                       PETER WALIER                             Trade
     ATTN: PETER WALIER                     EMAIL -                                  Debt                                                         $1,232,678.25
     CHIEF EXECUTIVE OFFICER                peter.walier@elginindustries
41
     2001 BUTTERFIELD                       .com
     DOWNERS GROVE, IL 60515                PHONE - 630-434-7200
     UNITED STATES                          FAX - 618-268-4850
     R.G. JOHNSON COMPANY                   JIM LECKIE                               Trade
     ATTN: JIM LECKIE                       PHONE - 724-222-6810                     Debt                                                         $1,221,678.08
     PRESIDENT                              FAX - 724-222-6815
42
     25 SOUTH COLLEGE STREET
     WASHINGTON, PA 15301
     UNITED STATES
     MAC'S MINING REPAIR                    LYNN C. SITTERUD                         Trade
     SERVICE, INC.                          EMAIL -                                  Debt                                                         $1,215,224.57
     ATTN: LYNN C. SITTERUD                 LYNN@MACSMININGREP
43   PRESIDENT                              AIR.COM
     225 WEST 400 SOUTH                     PHONE - 435-687-2244
     HUNTINGTON, UT 84528                   FAX - 435-687-2547
     UNITED STATES
     IRWIN MINE & TUNNELING                 DAVID FITZPATRICK                        Trade
     SUPPLY                                 EMAIL -                                  Debt                                                         $1,144,812.20
     ATTN: DAVID FITZPATRICK                DFITZPATRICK@IRWINCA
44   SENIOR VICE PRESIDEN                   R.COM
     9953 BROADWAY ST                       PHONE - 724-864-8900
     IRWIN, PA 15642                        FAX - 724-864-8909
     UNITED STATES
     AMERICAN MINE POWER,                   FREDDIE D. BALL JR.                      Trade
     INC.                                   PHONE - 304-253-6374                     Debt                                                         $1,138,652.51
     ATTN: FREDDIE D. BALL JR.              FAX - 304-235-6378
45   PRESIDENT
     584 RAGLAND ROAD
     BECKLEY, WV 25801
     UNITED STATES
     STATE ELECTRIC SUPPLY                  JOHN SPOOR                               Trade
     COMPANY                                EMAIL -                                  Debt                                                         $1,127,785.71
     ATTN: JOHN SPOOR                       john.spoor@stateelectric.co
46   PRESIDENT & COO                        m
     210 2ND AVE                            PHONE - 304-528-0265
     HUNTINGTON, WV 25703                   FAX - 304-424-8144
     UNITED STATES




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                                                                                                                                   Amount of claim
                                                                                    Nature of
                                                                                     claim                              If the claim is fully unsecured, fill in only
                                                                                                                      unsecured claim amount. If claim is partially
                                                                                     (for                           secured, fill in total claim amount and deduction
                                                                                                Indicate if claim
                                                                                  example,                             for value of collateral or setoff to calculate
       Name of creditor and complete         Name, telephone number and                          is contingent,
                                                                                trade debts,                                          unsecured claim.
      mailing address, including zip code   email address of creditor contact                   unliquidated, or
                                                                                 bank loans,
                                                                                                    disputed
                                                                                professional                          Total     1Deduction
                                                                                services, and                       claim, if   for value of
                                                                                                                                                  Unsecured Claim
                                                                                government                          partially   collateral or
                                                                                 contracts)                         secured      setoff [1]

     DATE MINING                            TERRY RICE                               Trade
     ATTN: TERRY RICE                       PHONE - 618-252-7200                     Debt                                                         $1,121,544.74
     PRINCIPAL
47
     1400 SOUTH MAIN STREET
     HARRISBURG, IL 62946
     UNITED STATES
     UMWA HEALTH AND                        Dale Stover                             Pension                                                       Undetermined
     RETIREMENT FUNDS                       EMAIL -                                   and
     ATTN: DALE STOVER                      DSTOVER@UMWAFUNDS                        Health
     DIRECTOR OF FINANCE AND                .ORG                                    Benefits
48
     GENERAL SERVICES                       PHONE - 703-291-2463
     2121 K STREET, SUITE 350
     WASHINGTON, DC 20037
     UNITED STATES
     RAVEN ENERGY LLC ("CMT")               Catherine Steege                    Breach of        Contingent,                                      Undetermined
     ATTN: CATHERINE STEEGE                 EMAIL -                             Contract        Unliquidated,
     PARTNER                                CSTEEGE@JENNER.COM                                    Disputed
49   C/O JENNER BLOCK                       PHONE - 312-923-2952
     353 N CLARK STREET                     FAX - 312-840-7352
     CHICAGO, IL 60654
     UNITED STATES
     MARGARET ANNE                          Kevin G. Hroblak                    Litigation      Unliquidated                                      Undetermined
     WICKLAND, AS TRUSTEE                   EMAIL -
     FOR AND ON BEHALF OF AN                khroblak@wtplaw.com
     IRREVOCABLE TRUST                      PHONE - 410-347-8700
     ESTABLISHED DECEMBER                   FAX - 410-752-7092
     23, 1974, AND A REVOCABLE
     TRUST ESTABLISHED
     AUGUST 23, 1985 AND
50
     GUY CORPORATION
     ATTN: KEVIN G. HROBLAK
     ATTORNEY
     WHITEFORD, TAYLOR &
     PRESTON L.L.P.
     SEVEN SAINT PAUL STREET
     SUITE 1500
     BALTIMORE, MD 21202




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    Fill in this information to identify the case and this filing:

   Debtor Name          Murray Energy Holdings, Co.

   United States Bankruptcy Court for the:                Southern District of Ohio
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Robert D. Moore
                                       10/29/2019
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Robert D. Moore
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                  RESOLUTIONS OF THE BOARDS OF DIRECTORS OF

                            MURRAY ENERGY CORPORATION
                                 (an Ohio corporation)

                                       (“Murray Energy”)

                             MURRAY ENERGY HOLDINGS CO.
                                 (a Delaware corporation)

                                           (“Holdings”)

        WHEREAS, the boards of directors (each, a “Governing Body”) of Murray Energy and
Holdings (each, a “Company,” and collectively, the “Companies”) have considered presentations
by the management and the financial and legal advisors of each Company regarding the liabilities
and liquidity situation of each Company, the strategic alternatives available to it, and the effect of
the foregoing on each Company’s business;

        WHEREAS, each Governing Body has had the opportunity to consult with the
management and the financial and legal advisors of the Companies and to fully consider each of
the strategic alternatives available to the Companies;

         WHEREAS, after a marketing process and negotiations with its stakeholders, the
Companies and their advisors have negotiated with certain of the lenders under its Superpriority
Credit and Guaranty Agreement (as defined herein) to provide a senior secured
debtor-in-possession term loan facility in an amount up to $350 million to the Companies
(the “DIP Facility”), which would be used to fund the Companies’ operations in the ordinary
course, fund the administration of each Company’s Chapter 11 Case (as defined herein), pay the
claims of certain vendors, employees, and other stakeholders in the ordinary course of business
during each Company’s Chapter 11 Case, and repay the amounts outstanding under the asset based
revolving facility under the Amended and Restated Revolving Credit Agreement (but not the first
in, last out term loan under that credit agreement);

       WHEREAS, the Companies and their advisors have negotiated that certain restructuring
support agreement (the “RSA”) with the Consenting Superpriority Lenders and Consenting
Equityholders (each as is defined in the RSA), which RSA documents the support of those
consenting parties for each Company’s proposed Chapter 11 Cases and reorganization; and

      WHEREAS, each Governing Body has reviewed and considered presentations by the
management and the financial and legal advisors of each Company regarding the DIP Facility and
the RSA.

       NOW, THEREFORE, BE IT,

CHAPTER 11 FILING

        RESOLVED, that, in the judgment of each Governing Body, it is desirable and in the best
interests of each Company (including a consideration of its creditors and other parties in interest)
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that each Company shall be, and hereby is, authorized to file, or cause to be filed, a voluntary
petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United States
Bankruptcy Court for the Southern District of Ohio (the “Bankruptcy Court”) and any other
petition for relief or recognition or other order that may be desirable under applicable law in the
United States.

        RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, any
Executive Vice President, any Senior Vice President, any Chief Legal Officer, or any other duly
appointed officer of each Company (collectively, the “Authorized Officers”), acting alone or with
one or more other Authorized Officers be, and they hereby are, authorized, empowered, and
directed to execute and file on behalf of each Company all petitions, schedules, lists, and other
motions, papers, or documents, and to take any and all action that they deem necessary or proper
to obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of each Company’s business.

ENTRY INTO RSA

        RESOLVED, that, in the judgment of each Governing Body, it is desirable and in the best
interests of each Company (including a consideration of its creditors and other parties in interest)
that each Company shall be, and hereby is, authorized to and directed to finalize, execute, and
deliver the RSA, and the Companies’ performance of their obligations under the RSA, including
the negotiation and documentation of a chapter 11 plan and asset purchase agreement, and all
exhibits, schedules, attachments, and ancillary documents or agreements related to such
documents, is, in all respects, approved and authorized.

RETENTION OF PROFESSIONALS

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”) as general bankruptcy counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Kirkland;

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the law firm of Dinsmore & Shohl L.L.P. (“Dinsmore”) as local bankruptcy
counsel to represent and assist each Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance each Company’s rights and obligations, including filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of
the Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Dinsmore;
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        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the firm Evercore Group L.L.C. (“Evercore”), as investment banker to represent
and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations; and in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Evercore;

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the firm Alvarez and Marsal L.L.C. (“A&M”), as financial advisor to represent
and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations; and in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of A&M;

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ the firm of Prime Clerk LLC (“Prime Clerk”) as notice and claims agent to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of Prime Clerk;

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
directed to employ any other professionals to assist each Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary; and

        RESOLVED, that each of the Authorized Officers be, and they hereby are, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a
view to the successful prosecution of such case.

CASH COLLATERAL AND DEBTOR-IN-POSSESSION FINANCING

        WHEREAS, each Company will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for certain prepetition secured lenders (collectively, the “Secured Lenders”) party
to:
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       (a)     that certain Amended and Restated Revolving Credit Agreement, originally dated
               as of December 5, 2013, as amended, restated, modified, or supplemented from
               time to time prior to the date hereof, among Holdings, Murray Energy, as borrower,
               the guarantors from time to time party thereto, the various lenders from time to time
               party thereto, and Goldman Sachs Bank USA, as agent;

       (b)     that certain Superpriority Credit and Guaranty Agreement, dated as of June 29,
               2018, as amended, restated, modified, or supplemented from time to time prior to
               the date hereof (the “Superpriority Credit and Guaranty Agreement”), among
               Holdings, Murray Energy, as borrower, the guarantors from time to time party
               thereto, the various lenders from time to time party thereto, and GLAS Trust
               Company LLC, as administrative agent;

       (c)     that certain Credit and Guaranty Agreement, dated as of April 16, 2015, as
               amended, restated, modified, or supplemented from time to time prior to the date
               hereof, among Holdings, Murray Energy, as borrower, the guarantors from time to
               time party thereto, the various lenders from time to time party thereto and Black
               Diamond Commercial Finance, L.L.C., as successor administrative agent to GLAS
               Trust Company LLC and Deutsche Bank AG New York Branch, respectively;

       (d)     that certain Indenture, dated June 29, 2018, as amended, restated, modified, or
               supplemented from time to time prior to the date hereof, by and among Murray
               Energy, as issuer, the guarantors from time to time party thereto, The Bank of New
               York Mellon Trust Company, N.A., as indenture trustee, and U.S. Bank National
               Association, as collateral trustee;

       (e)     that certain Indenture, dated May 8, 2014, as amended, restated, modified or
               supplemented from time to time prior to the date hereof, by and among Murray
               Energy, as issuer, the guarantors from time to time party thereto, The Bank of New
               York Mellon Trust Company, N.A., as indenture trustee, and U.S. Bank National
               Association, as collateral trustee; and

       (f)     that certain Indenture, dated April 16, 2015, as amended, restated, modified or
               supplemented from time to time prior to the date hereof, by and among Murray
               Energy, as issuer, the guarantors from time to time party thereto, The Bank of New
               York Mellon Trust Company, N.A., as indenture trustee, and U.S. Bank National
               Association, as collateral trustee.

        WHEREAS, reference is made to that certain Debtor-In-Possession Credit Agreement
(together with all exhibits, schedules, and annexes thereto, the “DIP Credit Agreement”), dated as
of, or about, the date hereof, by and among Murray Energy, as borrower (the “Borrower”), and a
debtor and debtor in possession under Chapter 11 of the Bankruptcy Code, Holdings, Murray
Metallurgical Coal Properties, LLC, Murray Metallurgical Coal Properties II, LLC and all other
direct and indirect domestic subsidiaries of the Borrower that are guarantors under the
Superpriority Credit and Guaranty Agreement, as guarantors (together with the Borrower,
the “Debtors”), the lenders party thereto from time to time (collectively, the “DIP Lenders”), and
GLAS Trust Company LLC, as administrative agent (the “DIP Agent”);
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        WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
Borrower is subject to, among other things, each Company entering into the DIP Credit Agreement
and satisfying certain conditions in the DIP Credit Agreement; and

        WHEREAS, each Company will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interest of each Company to enter into the DIP Credit Agreement and
each other DIP Loan Document (as defined in the DIP Credit Agreement) and to perform its
obligations thereunder, including granting security interests in all or substantially all of its assets.

        NOW, THEREFORE, BE IT,

        RESOLVED, that the form, terms, and provisions of the DIP Credit Agreement, and the
transactions contemplated by the DIP Credit Agreement (including, without limitation, the
borrowings thereunder), the transactions contemplated therein, and the guaranties, liabilities,
obligations, security interests granted, and notes issued, if any, in connection therewith, be, and
hereby are, authorized, adopted and approved;

        RESOLVED, that each Company will obtain benefits from the DIP Credit Agreement and
it is advisable and in the best interest of each Company to enter into the DIP Credit Agreement
and each other DIP Loan Document and to perform its obligations thereunder, including granting
security interests in all or substantially all of its assets;

        RESOLVED, that each Company’s execution and delivery of, and its performance of its
obligations (including guarantees) in connection with the DIP Credit Agreement, are hereby, in all
respects, authorized and approved; and further resolved, that each of the Authorized Officers,
acting alone or with one or more Authorized Officers, is hereby authorized, empowered, and
directed to negotiate the terms of and to execute, deliver, and perform under the DIP Credit
Agreement and any and all other documents, certificates, instruments, agreements, intercreditor
agreements, any amendment, or any other modification required to consummate the transactions
contemplated by the DIP Credit Agreement in the name and on behalf of each Company, in the
form approved, with such changes therein and modifications and amendments thereto as any of
the Authorized Officers may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
Officers is hereby authorized to be by facsimile, engraved or printed as deemed necessary and
preferable;

        RESOLVED, that each of the Authorized Officers, acting alone or with one or more
Authorized Officers, be, and hereby are, authorized, empowered, and directed in the name of, and
on behalf of, each Company to seek authorization to enter into the DIP Credit Agreement and to
seek approval of the use of Cash Collateral pursuant to a postpetition financing order in interim
and final form, and any Authorized Signatory be, and hereby is, authorized, empowered, and
directed to negotiate, execute, and deliver any and all agreements, instruments, or documents, by
or on behalf of each Company, necessary to implement the postpetition financing, including
providing for adequate protection to the Secured Lenders in accordance with section 363 of the
Bankruptcy Code, as well as any additional or further agreements for entry into the DIP Credit
Agreement and the use of cash collateral in connection with each Company’s Chapter 11 Case,
which agreements may require each Company to grant adequate protection and liens to each
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Company’s Secured Lenders and each other agreement, instrument, or document to be executed
and delivered in connection therewith, by or on behalf of each Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized
Signatory approves, such approval to be conclusively evidenced by the taking of such action or by
the execution and delivery thereof;

        RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement and all
other DIP Loan Documents to which each Company is a party, (ii) the grant of security interests
in, pledges of, and liens on all or substantially all of the assets now or hereafter owned by each
Company as collateral (including pledges of equity and personal property as collateral) under the
DIP Loan Documents, (iii) the guaranty of obligations by each Company under the DIP Loan
Documents, from which each Company will derive value, be and hereby are, authorized, adopted,
and approved, and (iv) any Authorized Signatory or other officer of each Company is hereby
authorized, empowered, and directed, in the name of and on behalf of each Company, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, each of the transactions contemplated by the DIP Credit Agreement,
substantially in the form provided to each Governing Body, the DIP Loan Documents and such
other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
documents to which each Company is or will be a party or any order entered into in connection
with each Company’s Chapter 11 Case (collectively with the DIP Credit Agreement,
the “Financing Documents”), incur and pay or cause to be paid all related fees and expenses, with
such changes, additions and modifications thereto as an Authorized Signatory executing the same
shall approve;

        RESOLVED, that each Company, as debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized, empowered, and directed to incur any and all
obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the Financing Documents (collectively, the “Financing Transactions”),
including granting liens on its assets to secure such obligations;

         RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company, as debtor and debtor-
in-possession, to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (i) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
facilitate the Financing Transactions; (ii) all petitions, schedules, lists, and other motions, papers,
or documents, which shall in its sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his/her or their execution thereof; (iii) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the DIP Agent and other parties in interest; and (iv) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the Financing
Documents;

     RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company to file or to authorize
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the DIP Agent to file any Uniform Commercial Code (“UCC”) financing statements, any other
equivalent filings, any intellectual property or real estate filings and recordings, and any necessary
assignments for security or other documents in the name of each Company that the DIP Agent
deems necessary or convenient to perfect any lien or security interest granted under the Financing
Documents, including any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of each Company and such other
filings in respect of intellectual and other property of each Company, in each case as the DIP Agent
may reasonably request to perfect the security interests of the DIP Agent under the Financing
Documents;

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company to take all such further
actions, including, without limitation, to pay or approve the payment of all fees and expenses
payable in connection with the Financing Transactions and all fees and expenses incurred by or on
behalf of each Company in connection with the foregoing resolutions, in accordance with the terms
of the Financing Documents, which shall in their reasonable business judgment be necessary,
proper, or advisable to perform each Company’s obligations under or in connection with the
Financing Documents or any of the Financing Transactions and to fully carry out the intent of the
foregoing resolutions;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, each Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the Financing Documents or
to do such other things which shall in their sole judgment be necessary, desirable, proper, or
advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her or their execution thereof; and

        RESOLVED, that, to the extent any Company serves as the sole member, general partner,
managing member, equivalent manager, or other governing body (each, a “Controlling Company”)
of any other Company, each Authorized Signatory, as applicable, is authorized, empowered, and
directed to take each of the actions described in these resolutions or any of the actions authorized
by these resolutions on behalf of the applicable Controlling Company.

APPOINTMENT OF CHAIRMAN AND PRESIDENT & CHIEF EXECUTIVE OFFICER

        WHEREAS, pursuant to the 2019 Amended and Restated Code of Regulations of Murray
Energy (the “Murray Energy Bylaws”) and the Bylaws of Holdings (the “Holdings Bylaws”), the
officers of Murray Energy and Holdings shall be elected by the Governing Body of the Company;

       WHEREAS, pursuant to the Murray Energy Bylaws, the positions of Chairman of the
Board and President and Chief Executive Officer have been established as separate positions that
may be filled by one or more persons;
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       WHEREAS, pursuant to the Murray Energy Bylaws, the President and Chief Executive
Officer shall have general charge and authority over the business of Murray Energy and have all
such powers as are assigned to or vested in him by the board of directors of Murray Energy or
otherwise provided by agreement;

       NOW, THEREFORE, BE IT,

        RESOLVED, that Robert E. Murray is hereby appointed as Chairman of the Board of
Murray Energy and Holdings, effective immediately, and will hold such office until his successor
is duly elected and qualified or until his earlier death, resignation or removal; and

        RESOLVED, that Robert D. Moore is hereby appointed as President and Chief Executive
Officer of Murray Energy and Holdings, effective immediately, replacing Robert E. Murray in
such office, and will hold such office until his successor is duly elected and qualified or until his
earlier death, resignation or removal and shall have the power to manage the business of Murray
Energy and Holdings and carry into, or cause to be carried into, effect the orders and resolutions
of each Governing Body, respectively, including, without limitation complying with the RSA and
DIP Credit Agreement and creating, revising and overseeing the budget for the DIP Credit
Agreement.

GENERAL

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
they hereby are, authorized and empowered, in the name of and on behalf of each Company, to
take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents and
to pay all expenses, including, but not limited to, filing fees, in each case as in such Authorized
Signatory’s judgment, shall be necessary, advisable, or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein;

        RESOLVED, each of the Authorized Officers be, and each hereby is, authorized and
empowered to take any and all action with respect to each Company’s subsidiaries that such
Authorized Officer shall deem necessary, proper or advisable in furtherance of the foregoing
resolutions (including consenting to amendments, amendments and restatements or other
modifications of such subsidiaries’ governing documents);

        RESOLVED, that each Governing Body of each Company has received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the organizational documents of each Company, or hereby waive any right
to have received such notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of each Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of each Company with the same force and effect as if each such act, transaction, agreement,
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or certificate had been specifically authorized in advance by resolution of each Governing Body;
and

        RESOLVED, that each of the Authorized Officers (and their designees and delegates) be,
and hereby is, authorized and empowered to take all actions or to not take any action in the name
of each Company with respect to the transactions contemplated by these resolutions hereunder, as
such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein.

                                 *      *      *       *      *
